Case 3:03-cr-00210-BTM       Document 671       Filed 06/21/07    PageID.4599       Page 1 of 2



  1
  2
  3
  4
  5
  6
  7
  8                           UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                            CASE NO. 03CR210 BTM
 12                                        Plaintiff,       ORDER
           vs.
 13    ROBERT MADRID,
 14                                    Defendant.
 15          On June 19, 2007, Defendant filed an ex parte request for leave to file a motion
 16   pursuant to 28 U.S.C. § 2255 for the limited purpose of challenging the 4-point enhancement
 17   he received at sentencing by this Court. The proposed order submitted by Defendant along
 18   with the request indicates that the motion would be filed within 60 days.
 19          Although not indicated in Defendant’s request, the Court recognizes that Defendant
 20   was sentenced on June 22, 2006 and his judgment of conviction was entered June 30, 2006.
 21   Accordingly, the 1-year period of limitation for filing a § 2255 motion is almost at an end. See
 22   28 U.S.C. § 2255, ¶ 6 (“A 1-year period of limitation shall apply to a motion under this
 23   section. The limitation period shall run from . . . (1) the date on which the judgment of
 24   conviction becomes final . . . .”); United States v. Schwartz, 274 F.3d 1220, 1223 (9th Cir.
 25   2001) (holding that judgment of conviction becomes final upon expiration of time for filing
 26   direct appeal); Fed. R. App. P. 4(b)(1)(A)(i) (“In a criminal case, a defendant’s notice of
 27   appeal must be filed in the district court within 10 days after . . . the entry of either the
 28   judgment or the order being appealed . . . .”). However, Defendant has not set forth any


                                                        1                                      03CR210
Case 3:03-cr-00210-BTM      Document 671      Filed 06/21/07    PageID.4600      Page 2 of 2



  1   good cause for extending the statutory 1-year deadline. And, in any event, Defendant’s
  2   motion might be in violation of his plea agreement because he waived his “right to appeal or
  3   to collaterally attack [his] conviction and sentence” as part of that agreement. See Feb. 14,
  4   2005 Plea Agreement at 11-12; Doc. #512.
  5          Defendant does not need leave of the Court to file a motion under 28 U.S.C. § 2255.
  6   However, he must do so timely and explain why he has not waived his right to pursue a §
  7   2255 motion. To the extent that Defendant is requesting leave to extend the deadline to file
  8   such a motion, that request is DENIED. The Clerk shall enter this order forthwith and
  9   immediately mail a copy to Defendant.
 10
 11   IT IS SO ORDERED.
 12
 13   DATED: June 21, 2007
 14
 15                                              Hon. Barry Ted Moskowitz
                                                 United States District Judge
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28


                                                   2                                        03CR210
